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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


JOE MOSCON,                   )
                              )
                              )
                              )
      Plaintiff,              )
                              )
v.                            )                       Civil Action No. _________________
                              )
GOLDEN RULE INSURANCE COMPANY )
and CHESTER SHMOLDAS,         )
                              )
                              )
      Defendants.             )



                                     NOTICE OF REMOVAL


           Pursuant to 28 U.S.C. § 1441(a), et seq., defendant, Golden Rule Insurance Company

(“Golden Rule”), files this Notice of Removal of this action from State Court to this Court and

respectfully states as follows:

           1.     On April 2, 2009, plaintiff, Joe Moscon (“Moscon”) commenced a civil action in

the Circuit Court of Tennessee for the Thirtieth Judicial District at Memphis (“the State Court”),

bearing the style Joe Moscon v. Golden Rule Insurance Company and Chester Shmoldas, Docket

No. CI-001610-09 (“the Civil Action”). The Civil Action is still pending in the State Court.

           2.     Golden Rule was served with a copy of the Summons and Complaint in the Civil

Action on April 27, 2009, and the Summons and Complaint, copies of which are attached as

Exhibit A, constitute all process, pleadings, and orders served on Golden Rule in the Civil Action

to date.

           3.     Golden Rule has, to date, made no appearance in the Civil Action in State Court.


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           4.    The Civil Action is one of which this Court has diversity of citizenship

jurisdiction pursuant to 28 U.S.C. § 1332 and removal jurisdiction pursuant to 28 U.S.C. § 1441

in that:

           (a)   Moscon, both at the time of filing of the Civil Action and as of the date of filing
                 this Notice, was and is a citizen of the State of Tennessee.

           (b)   Golden Rule, both at the time of filing of the Civil Action and as of the date of
                 filing of this Notice, was and is a corporate citizen of the State of Indiana in that it
                 is and was incorporated in the State of Indiana, with its principal place of business
                 in Indianapolis, Indiana.

           (c)   Defendant, Chester Shmoldas (“Shmoldas”) is improperly joined as a party to the
                 Civil Action to destroy removal and diversity jurisdiction because there is no
                 reasonable basis for this Court to predict that Plaintiff might be able to recover
                 against Shmoldas under Tennessee law. See, e.g., McPherson v. Fortis Ins. Co.,
                 2004 WL 1123529, 6 (Tenn. Ct. App. 2004) (stating that the “acts or omissions of
                 [] the insurance agent do not excuse the plaintiff from misrepresentations in his
                 application); Reno v. SunTrust, Inc., 2007 WL 907256, 4 (Tenn. Ct. App. 2007)
                 (stating that "to allow a party to a contract to admit that the party signed the
                 contract but to deny that the terms of the contract express the party's agreement
                 would destroy the value of contracts." and citing Giles v. Allstate Ins. Co., 871
                 S.W.2d 154, 157 (Tenn. Ct. App. 1993)); Oak Ridge Precision Industries, Inc. v.
                 First Tennessee Bank National Ass'n, 835 S.W.2d 25, 29 (Tenn. Ct. App. 1992)
                 (explaining that it is well-settled law that a representation of a present or past fact
                 is the most fundamental part of a misrepresentation claim, and allegations related
                 to a future fact or promise are insufficient under Tennessee law to support a claim
                 of misrepresentation.); Weiss v. State Farm Fire & Cas. Co., 107 S.W. 3d 503,
                 506 (Tenn. Ct. App. 2001) (holding that an insurance agent has no duty to explain
                 a policy to a policyholder). See also, e.g., Hyde v. Acceleration Life Ins. Co., 438
                 S.E. 2d 385 (Ga. Ct. App. 1994) (language in an application for insurance that no
                 agent has authority to make, alter, modify, or discharge any policy based on the
                 application puts applicant on notice that the agent does not have actual or
                 apparent authority to make any representations to change, modify or waive
                 application questions); Brown v. Inter-Ocean Ins. Co., 438 F.Supp. 951 (N.D. Ga.
                 1977) (agent cannot bind insurer by promising to issue a policy when the written
                 application expressly states that the agent cannot so contract); Steele v. Jackson
                 Nat. Life Ins. Co., 691 So. 2d 525, 527 (Fla. App. 1997) (an applicant cannot rely
                 on agent’s alleged statement that diagnosis, treatment and hospitalization were
                 insignificant to insurer). This Court must, therefore, disregard the citizenship of
                 Shmoldas in determining whether diversity of citizenship exists among the parties
                 properly joined. See Coyne v. The American Tobacco Company, 183 F.3d 488,
                 493 (6th Cir. 1999).




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       (d)      Diversity of citizenship exists between all parties properly joined in that they are
                citizens of different states and the amount in controversy exceeds $75,000,
                exclusive of interest and costs, according to the complaint; and

       (e)      This action is within the original jurisdiction of the Court pursuant to the
                provisions of 28 U.S.C. § 1332.

       (f)      The consent of Shmoldas, being a fraudulently joined defendant, is not required to
                remove this case. See, e.g., Direct Marketing Services, LLC v. Bluegreen Corp.,
                2005 WL 1594543, 2 (E.D. Tenn. 2005) citing Coyne v. American Tobacco Co.,
                183 F.3d 488, 493 (6th Cir. 1999).

       5.       Golden Rule has filed this Notice prior to the expiration of thirty (30) days

following its receipt of a copy of the Complaint by service.

       6.       Golden Rule will give written notice to plaintiff and will file a Notice of Filing of

Notice of Removal with the Clerk of the Circuit Court of Tennessee for the Thirtieth Judicial

District at Memphis. Golden Rule attaches a copy of the Notice of Filing of Notice of Removal

as Exhibit B.

       WHEREFORE, defendant, Golden Rule Insurance Company prays that the Civil Action

now pending against it in the Circuit Court of Tennessee for the Thirtieth Judicial District at

Memphis, be removed therefrom to this Court.

                                              Respectfully submitted,



                                              /s/ S. Russell Headrick
                                              S. RUSSELL HEADRICK (TN BPR # 5750)
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                                              Golden Rule Insurance Company


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of May, 2009, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system.


                                              /s/ S. Russell Headrick
                                              S. Russell Headrick (TN5750)




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